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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA                        *
                                                 *
        v.                                       *    CRIMINAL NO. PX-19-181
                                                 *
 RONDELL HENRY,                                  *
                                                 *
                Defendant                        *
                                                 *
                                              *******

                                              ORDER

       On April 4, 2019, the defendant was charged by criminal complaint with one count of

interstate transportation of a stolen vehicle, in violation of 18 U.S.C. § 2312. He made his initial

appearance on the same date. ECF No. 1, 4. On April 9, 2019, the defendant was ordered detained

pursuant to an order of the court granting the Government’s motion for detention pending trial. ECF

No. 10, 12. The defendant was housed initially at the Chesapeake Detention Facility (“CDF”).

       On April 10, 2019, a federal grand jury returned an indictment in the above-captioned

matter, charging the defendant with one count of interstate transportation of a stolen vehicle, in

violation of 18 U.S.C. § 2312. ECF No. 13. On April 29, 2019, the defendant made his initial

appearance on the indictment, an arraignment was held, and the defendant entered a plea of not

guilty. ECF No. 16.

       On August 28, 2019, a federal grand jury returned a two-count superseding indictment

charging the defendant with attempting to provide material support and resources to a foreign

terrorist organization, in violation of 18 U.S.C. § 2239B, and interstate transportation of a stolen

vehicle, in violation of 18 U.S.C. § 2312. ECF No. 29. The defendant has yet to have an initial

appearance or be arraigned on the superseding indictment.
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        Defense counsel petitioned the Court to order a psychiatric exam to determine whether the

defendant was competent to stand trial. ECF No. 34. The Court granted the defense counsel’s

request by an order dated October 3, 2019. ECF No. 39.

        The ordered evaluation occurred at the Federal Detention Center, SeaTac in SeaTac,

Washington, a Bureau of Prisons (“BOP”) facility. Based on the evaluations and conclusions of a

forensic psychologist, the parties agreed that the defendant was not competent to proceed with trial

at this time and that the Court should find by a preponderance of the evidence that the defendant is

presently incompetent. Consistent with the forensic psychologist’s conclusion, the parties also

agreed that formal competency restoration procedures at a Federal Medical Center should be

initiated.

        When “the court finds by a preponderance of the evidence that the defendant is presently

suffering from a mental disease or defect rendering him mentally incompetent to the extent that he

is unable to understand the nature and consequences of the proceedings against him or to assist

properly in his defense, the court shall commit the defendant to the custody of the Attorney General.”

18 U.S.C. § 4241(d). The defendant is then hospitalized at a BOP facility “for such a reasonable

period of time, not to exceed four months, as is necessary to determine whether there is a substantial

probability that in the foreseeable future he will attain the capacity to permit the proceedings to go

forward.” 18 U.S.C. § 4241(d)(1).

        This Court held a hearing on February 28, 2020. The defendant appeared in person with the

assistance of defense counsel. Based on the report of the forensic psychologist, the consent of the

parties, and any additional information from the hearing conducted by this Court on February 28,

2020, this Court found by a preponderance of the evidence that the defendant presently was not

competent to proceed to trial. Accordingly, the defendant was remanded for a period of no more



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than four months to the custody of the Attorney General for placement in a suitable BOP facility to

determine whether there was a substantial probability that in the foreseeable future he would attain

the capacity to permit the proceedings to go forward. The Court also recommended that, to the extent

possible, BOP initiate formal competency restoration procedures at a Federal Medical Center. The

Court entered an order documenting its findings, ruling, and recommendation at ECF No. 44 on

February 28, 2020.

       Shortly after the Court entered its order, the effects of the COVID-19 pandemic reached the

Courthouse and court operations. The Court entered appropriate orders extending the time of the

defendant’s hospitalization and placement in BOP custody.

       On November 20, 2020, BOP forensic psychologist Brianna Grover submitted a report to the

Court in which she provides her opinion that the defendant “is currently suffering from a mental

disease or defect, which renders him not competent to stand trial.” Report at 15. Dr. Grover further

requested “another 120-day evaluation and treatment period, pursuant to Title 18, U.S.C., Section

4241(d), to allow additional time to conduct interviews and encourage Mr. Henry to consider

psychotropic medication.” Report at 15.

       On February 25, 2021, consistent with 18 U.S. C. § 4241(d)(2)(A), and for the same reasons

for the prior order issued under that statute, this Court ordered the defendant’s continued

commitment to the custody of the Attorney General for an additional reasonable period of

hospitalization, not to exceed four months, to determine if continued psychiatric and psychological

treatment will render the defendant competent to proceed to trial. ECF No. 53.

       By a report submitted to the Court dated June 30, 2021, BOP forensic psychologist Brianna

Grover provided her opinion that the defendant “is currently suffering from a mental disease or

defect, which renders him not competent to stand trial.” See Second Report at 15. Furthermore, Dr.



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Grover respectfully requested this Court “issue an order for the FMC to submit an Addendum to the

Forensic Evaluation which will outline in detail any proposed treatment plan and further details

pertinent to the remaining factors pursuant to Sell v. United States. The Court entered an order for

the Addendum. ECF No. 56.

       On August 13, 2021, BOP returned an Addendum signed by Dr. Charles Cloutier, Staff

Psychiatrist at Federal Medical Center Butner, opining that the defendant is “incompetent to

proceed” and setting forth a proposed treatment plan and other details pertaining to the factors under

Sell v. United States. See Addendum and Appendix (Aug. 13, 2021). The Court entered a scheduling

order for briefing on a Sell motion, and set a virtual hearing on the motion for December 6, 2021.

ECF No. 58.

       On December 1, 2021, BOP forensic psychologist Dr. Brianna Grover submitted a further

Addendum to the Court providing an update on the defendant’s treatment and requesting an

additional period of treatment and evaluation to continue restoration efforts. Addendum (Dec. 1,

2021) at 3. On December 2, 2021, upon petition from the parties, the Court modified the Sell hearing

set for December 6, 2021, to a virtual status conference. ECF No. 70. During that status conference,

the Court set a follow up recorded status call for January 5, 2022. ECF No. 71, 72.

       Counsel for the Government and the defendant have advised that they do not object to the

request for an additional requested hospitalization period until January 19, 2022 to permit time for

additional treatment and evaluation. Accordingly, consistent with 18 U.S.C. § 4241(d)(2)(A), and

for the same reasons for the prior order issued under that statute, the Court hereby orders that the

defendant’s continued commitment to the custody of the Attorney General for an additional

reasonable period of hospitalization, until January 19, 2022, is appropriate to determine if continued

psychiatric and psychological treatment will render the defendant competent to proceed. The Court



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also hereby orders that BOP forensic psychologists and/or staff submit a report or addendum to the

Court and counsel of record by January 19, 2022, to advise of the defendant’s condition and further

proposed procedures, if any. The Court may order continued commitment in the future, by separate

order, if it deems it appropriate based on any further report/addendum provided by the BOP forensic

psychologists and/or staff.




          1/3/22                                       /S/
       _______________________
       Date                                 Hon. Paula Xinis
                                            United States District Judge




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